                                 IN THE UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF VIRGINIA
                                          ABINGDON DIVISION

                     CRIMINAL MINUTES - INITIAL APPEARANCE - COMPLAINT


Case No.: 1:19MJ57                       Date: 5/13/19

Defendant: James L. Jordan, Custody                             Counsel: Nancy Dickenson, AFPD

PRESENT:       JUDGE:                    Pamela Meade Sargent       TIME IN COURT: 10:34 – 10:43 a.m.
               Deputy Clerk:             Felicia Clark                                   Total: 9 minutes
               Court Reporter:           Felicia Clark, FTR
               U. S. Attorney:           Zachary Lee
               USPO:                     Ryan Thayer
               Case Agent:               Michael Adkins, FBI Agent; James Willett, SA Forest Service

INITIAL APPEARANCE


       Initial Appearance. Defendant(s) advised of charges, rights and nature of proceedings.
       Government motion for detention. Government motion for psychiatric (competency and sanity) evaluation.
       No position by defense counsel. Court granted both motions. Defendant was remanded to custody.




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